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A 0 245B (Rev 12/03) Sheet 1 - Judgment In a Crim~nalCase



                                UNITED STA TES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DIVISION



UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE

                                                                 CASE NUMBER: 8:05-cr-199-T-30TBM
                                                                 USM NUMBER: 42884-018
VS.




MANUEL ENRIQUE MENACA MORALES
                                                                 Defendant's Attorney: Eric Kuske, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE (1) and TWO (2) of the Indictment.
      pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                         NATURE OF OFFENSE                                      OFFENSE ENDED             COUNT
46 App. U.S.C. 4 1903(a) and            Conspiracy to Possess With Intent to Distribute       May 5, 2005                One
1903(g) and 1903 (j) and 21             5 Kilograms or More of Cocaine While Aboard
U.S.C. 4 960(b)(l)(B)(ii)               a Vessel Subject to the Jurisdiction of the United States


46 App. U.S.C. 4 1903(a) and (g) Possession With Intent to Distribute 5 Kilograms            May 5, 2005
and 21 U.S.C. 4 960(b)(l)(B)(ii) or More of Cocaine While Aboard a Vessel
                                 Subject to the Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
                                                                                                                                          I
- The defendant has been found not guilty on count(s)
- Count(s) of the Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                   Date of Imposition of Sentence: December 5 , 2005




                                                                                   JA&&      S. MOODY, JR.
                                                                                     ED STATES DISTRICT JUDGE
                                                                                   DATE: December         4 ,2005
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A 0 245B (Rev 12/03) Sheet 2 - Im~risonment
Defendant:          MANUEL ENRIQUE MENACA MORALES                                                 Judgment - Page 2 of 6
                                                                                                                       --
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                                                             IMPRISONMENT

          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
5 3553(a)(l)-(7),the court finds that the sentence complies with the purposes of sentencing set forth in Title 18 U.S.C.
$ 3553(a).

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of EIGHTY-SEVEN (87) MONTHS as to Counts One and Two of the Indictment, each term
to run concurrently.


- The court makes the following recommendations to the Bureau of Prisons:




-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          -at -a.m./p.m.      on -.
          - as notified by the United States Mal-shal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          -before 2 p . m . on -.
          -as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                        at

                                                                        , with a certified copy of this judgment.




                                                                                         United States Marshal

                                                                    By:

                                                                        Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            MANUEL ENRIQUE MENACA MORALES                                                     Judgment - Page 3of 6
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                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Counts One and Two of the Indictment, each tern1 to run concurrently.

        T h e defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime.

          T h e defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
          probation officer.

            If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            T h e defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district nithout the permission ofthe court or probation officer:

            the defendant shall report to the probation officcr and shall submit a truthful and complete nritten report within the first five days of each
            month:

            the defendant shall answer truthfitlly all inquiries by the probation ofliccr and follou the instructions of the probation officer:

            the defendant shall support his or her dependcnts and meet othcr family responsibilities;

            the defendant shall work regularly at a lawful occ~~pation,
                                                                     unless excused by tho probation officcr for schooling. training. or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ton days prior to any change in residence or employment:

            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute. or administer any controlled
            substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered:

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony. unless granted permission to do so by thc probation officer:

           the defendant shall permit a probation officcr to visit him or hcr at any time at home or clscwhere and shall permit conliscation of any
           contraband observed in plain view of the probation officer:

           the defendant shall notify the probation officcr wilhin seventy-two hours of being arrested or questioned by a law enforcement officer:

           the defendant shall not enter into any agreement to act as an informer or a spccial agent o f a law enforcement agency without the
           permission of the court:

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit thc probation officer to make such notifications and to confirm the defendant's
           compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:           MANUEL ENRIQUE MENACA MORALES                                                     Judgment - Page 4 of 6
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                                              SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following additional conditions of supervised release:


-
X         If the defendant be deported, helshe shall not be allowed to re-enter the United States without the express permission of the
          appropriate governmental authority.

-
X         The mandatory drug testing provisions pursuant to the Violent Crime Control Act are imposed. The Court authorizes the
          probation officer to conduct random drug testing not to exceed 104 tests per year.
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 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:           MANUEL ENRIQUE MENACA MORALES                                                Judgment - Page 5 of 6
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                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                            -
                                                                       Fine                        Total Restitution

           Totals:               $200.00                               Waived                      NIA


 -         The determination of restitution is deferred until -.                An Amended Judgment in a Crinzinal Case ( A 0 245C) will
           be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or ercentage payment column below. However. pursuant to 18 U.S.C. 5
           3664(i), all nonfederal victims must be pai C! before the United States.
                                                                                                                  Priority Order or
                                                        *Total                     Amount of                      Percentage of
 Name of Payee                                        Amount of Loss            Restitution Ordered               Payment




                                Totals:              L                          L

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine               restitution.
         -          the interest requirement for the - fine              restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 1 13A of Title I8 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:         MANUEL ENRIQUE MENACA MORALES                                            Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       X         Lump sum payment of $200.00 due immediately. balance due
                            -not later than                    , or

                            -in accordance - C , - D, - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C , -D, or -F below); or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e.g. , months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except                               made through the
         6                              g
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                    K d
or portions thereof, subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
